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10
11                                    UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                         OAKLAND DIVISION
13
14                                                     No. 4:18-cv-06810-JST
      East Bay Sanctuary Covenant, et al.,
15                                                     DEFENDATNS’ NOTICE OF MOTION
                                    Plaintiffs,        AND MOTION FOR SUMMARY
16                                                     JUDGMENT
                 v.
17
18    Joseph R. Biden, et al.,

19                                  Defendants.
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     NOTICE OF MOTION AND MOTION
     East Bay Sanctuary v. Biden,
     Case No. 4:18-cv-06810-JST
              Case 4:18-cv-06810-JST Document 176 Filed 06/16/23 Page 2 of 3




 1            NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
 2   TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE that Defendants hereby move for summary judgment on all
 4   claims related to Plaintiffs amended complaint concerning the Final Rule, Circumvention of
 5   Lawful Pathways, 88 Fed. Reg. 31,314 (May 16, 2023). The hearing on Plaintiffs’ motion will be
 6   held on July 19, 2023, before the Honorable Jon S. Tigar in the District Court for the Northern
 7   District of California in Courtroom 6, 2nd Floor. ECF No. 167.
 8          Defendants’ motion is brought pursuant Federal Rule of Civil Procedure 56, and it is based
 9   on the enclosed Memorandum of Points and Authorities and materials cited therein.
10
            Respectfully submitted,
11
12                                               BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney General
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                                                 WILLIAM C. PEACHEY
14
                                                 Director
15
                                             By: /s/ Erez Reuveni
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24   Dated: June 16, 2023                        Attorneys for Defendants
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